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                              No. 23-50869

          In the United States Court of Appeals
                  for the Fifth Circuit
                          State of Texas,
                                    Plaintiff-Appellant
                                     v.
   United States Department of Homeland Security;
  Alejandro Mayorkas, Secretary, U.S. Department of
Homeland Security; United States Customs and Border
Protection; United States Border Patrol; Troy Miller,
    Acting Commissioner, U.S. Customs and Border
  Protection; Jason Owens, in his official capacity as
  Chief of the U.S. Border Patrol; Juan Bernal, in his
official capacity as Acting Chief Patrol Agent, Del Rio
          Sector United States Border Patrol,
                              Defendants-Appellees.

            On Appeal from the United States District Court
           for the Western District of Texas, Del Rio Division

  PLAINTIFF’S OPPOSED EMERGENCY MOTION
FOR AN INJUNCTION PENDING APPEAL AND FOR
 A TEMPORARY ADMINISTRATIVE INJUNCTION




                     (Counsel Listed on Inside Cover)
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             Certificate of Interested Persons
                                   No. 23-50869


                               State of Texas,
                                         Plaintiff-Appellant
                                          v.
    United States Department of Homeland Security;
   Alejandro Mayorkas, Secretary, U.S. Department of
 Homeland Security; United States Customs and Border
 Protection; United States Border Patrol; Troy Miller,
     Acting Commissioner, U.S. Customs and Border
   Protection; Jason Owens, in his official capacity as
   Chief of the U.S. Border Patrol; Juan Bernal, in his
 official capacity as Acting Chief Patrol Agent, Del Rio
           Sector United States Border Patrol,
                               Defendants-Appellees.



    Under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellant, as a

governmental party, need not furnish a certificate of interested persons.

                                        /s/ Aaron L. Nielson
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                         Nature of Emergency
    As the district court documented at length, federal immigration officials persist

in undermining Texas’s border-security efforts. In Eagle Pass, Texas deployed rolls

of concertina wire (“c-wire”) as part of Governor Greg Abbott’s efforts to tackle

illegal-entry hotspots. Since September 2023, however, Defendants have cut and
torn Texas’s wire fencing to wave thousands of unlawful migrants into the interior

of the country—without Texas’s consent and in the absence of any medical

exigency. Accordingly, Texas brought this suit seeking a preliminary injunction to
prevent ongoing damage to its property.

    In response, Defendants took matters into their own hands and accelerated their

damage to Texas’s property. After Texas sought injunctive relief, Defendants
brought a forklift to destroy Texas’s c-wire fence. Then, after Texas sought a

temporary restraining order, Defendants returned with another forklift just 20

minutes later to smash Texas’s fence into the ground. The district court granted a

TRO while it considered Texas’s motion for a preliminary injunction.

    After holding several hearings and considering supplemental briefing, the

district court specifically identified the “culpable and duplicitous conduct” that
animates the Biden Administration’s open-border policies, which betrays an “utter

failure . . . to deter, prevent, and halt unlawful entry into the United States.” App.

P. 6, 28. The district court also found that Defendants’ conduct inflicts “irreparable

harm” upon Texas and puts human lives in danger by enticing unlawful migrants to

“undertake the dangerous task of crossing the river” rather than going to a formal

port of entry. Id. at 9, 34. And the district court confirmed that Texas will likely
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prevail on the merits of its common-law trespass claim. Id. at 10-13. Nonetheless, the

district court (id. at 15)—based on a technical question of sovereign immunity—

determined that it was powerless to convert Texas’s TRO into a preliminary

injunction. Specifically, the district court determined that despite the categorical
waiver of sovereign immunity for injunctive remedies, Congress nonetheless

implicitly retained immunity for certain suits “seeking relief other than money

damages.” 5 U.S.C. § 702. In so doing, the district court created a split of authority.
This Court—“always chary to create a circuit split,” Alfaro v. Comm’r, 349 F.3d

225, 229 (5th Cir. 2003)—is unlikely to repeat that error on appeal.

    An injunction pending appeal is urgently needed, moreover, because the district
court denied Texas’s motion for a preliminary injunction just minutes before the

TRO expired at 11:59 PM on November 29, 2023. Texas immediately appealed and

asked the district court to protect Texas’s property rights with an injunction pending
appeal by 9 AM on Monday, December 4, 2023. Fed. R. App. P. 8(a)(1)(C); App. Q.;

App. R. Because the district court failed to afford the relief requested, Texas now

asks this Court for an emergency injunction pending appeal. Fed. R. App. P.
8(a)(2)(A)(ii); 5th Cir. R. 27.3. Additionally, or alternatively, Texas immediately

requests a temporary administrative injunction by December 4, 2023, while the

Court considers this emergency motion.

                                 Background

I. The District Court’s Findings Regarding the Border Crisis
    Following several evidentiary hearings, the district court concluded that “[t]he

immigration system” is central to the “unique challenge[s]” at the U.S.-Mexico

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border. App. P. 6. As the district court explained, “dysfunctional and flawed as it is,

[the immigration system] would work if properly implemented.” Id. The way it is

currently being implemented, however, “serves no one.” Id. Furthermore, the

“number of Border Patrol encounters with migrants illegally entering the country
has swelled from a comparatively paltry 458,000 in 2020 to 1.7 million in 2021 and

2.4 million in 2022”—with Border Patrol “on track to meet or exceed those

numbers in 2023.” Id. at 7 (citation omitted).
    Unfortunately, “organized criminal organizations take advantage of these large

numbers,” and “conveying all those people to the doorstep of the United States has

become an incredibly lucrative enterprise for the major Mexican drug cartels.” Id.
Indeed, trafficking across the southern border has metastasized “from a scattered

network of freelance ‘coyotes’ to a multi-billion-dollar international business

controlled by organized crime, including some of Mexico’s most violent drug
cartels.” 1 These cartels, which “have increasingly acquired a transnational

dimension,” are now the fifth largest employer in Mexico, 2 and operate as “potent

paramilitary forces, with heavily armed mobile units able to stand their ground

against the Mexican military.” 3 At the same time, “the infrastructure built by the


    1
    Miriam Jordan, Smuggling Migrants at the Border Now a Billion-Dollar Business,
N.Y. Times (July 25, 2022), https://www.nytimes.com/2022/07/25/us/migrant-
smuggling-evolution.html; see also App. P. 7 (taking notice of this article).
    2
      Rafael Prieto-Curiel et al., Reducing Cartel Recruitment Is the Only Way to Lower
Violence in Mexico, 381 Science 1312 (2023).
    3
    William P. Barr, Opinion, The U.S. Must Defeat Mexico’s Drug Cartels, Wall
St. J. (March 2, 2023), https://www.wsj.com/articles/the-us-must-defeat-


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cartels for human cargo can also be used to ship illegal substances, namely fentanyl.”

App. P. 7. “Lethal in small doses, fentanyl is a leading cause of death for young

Americans and is frequently encountered in vast quantities at the border.” Id.

    Border towns like Eagle Pass are at the “epicenter” of this country’s
immigration problem. Id. at 8. According to Eagle Pass Mayor Rolando Salinas, Jr.,

the recent surge of border crossings is like “nothing that we’ve seen ever . . . to have

so many people crossing in without consequence.” 4 After roughly 14,000 people—

about half of Eagle Pass’s population—entered the city in less than two weeks,

Mayor Salinas declared a state of disaster. 5

II. Operation Lone Star
    Governor Abbott “launched Operation Lone Star in 2021 to aid Border Patrol
in its core functions” at Texas’s border with Mexico. App. P. 8. As part of this multi-

front initiative, the Governor authorized the Texas Military Department (“TMD”)

to deploy c-wire fencing with the permission of landowners to deter and slow illegal
crossings at hotspots like Eagle Pass. App. C. (Banks Decl.) ¶12. As the district court

explained,“[t]he wire serves as a deterrent—an effective one at that.” App. P. 8.


mexicos-drug-cartels-narco-terrorism-amlo-el-chapo-crenshaw-military-law-
enforcement-b8fac731?mod=article_inline.
    4
     Gaige Davila, High Migration Through Texas Border Town of Eagle Pass Strains
Resources, NPR (Sept. 22, 2023), https://www.npr.org/2023/09/22/12012
15460/high-migration-through-texas-border-town-of-eagle-pass-strains-resources.
    5
      App. C. (Banks Decl.) ¶11; see also Alicia A. Caldwell & Michelle Hackman,
Migrants Overwhelm Texas City of Eagle Pass, Wall St. J. (Sept. 21, 2023),
https://www.wsj.com/politics/policy/migrants-overwhelm-texas-city-of-eagle-
pass-531879cf.

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Indeed, “the wire was so successful that illegal border crossings dropped to less than

a third of their previous levels.” Id. The federal government thus also uses c-wire

fencing to deter illegal crossings and route migrants to lawful ports of entry. App. B.

(Storrud Decl.) ¶7. Indeed, Texas regularly erects c-wire at the border in
collaboration with Border Patrol and CBP. Id. ¶¶2-3. “[S]tate agents have given

concertina wire to federal agents to assist them in deploying wire fencing, and federal

agents have given concertina wire to state agents to assist them in doing the same.”
Id. ¶4; see also id. ¶¶8-15; App. P. 8 (“By all accounts, Border Patrol is grateful for

the assistance of Texas law enforcement, and the evidence shows the parties work

cooperatively across the state, including in El Paso and the Rio Grande Valley.”).
    As Eagle Pass began experiencing an unprecedented surge in illegal crossings,

however, the federal government flipflopped. Eyewitness observers reported that

the cuttings “facilitate the surge of migrants into Eagle Pass.” App. C. ¶¶13-14. As
the district court documented, video evidence shows federal agents “cutting

multiple holes in the concertina wire for no apparent purpose other than to allow

migrants easier entrance further inland.” App. P. 9. On more than 20 occasions
between September 20 and October 10, 2023, TMD recorded CBP officials cutting

breaches in Texas’s fence. App. D. (Garcia Decl.) ¶¶12-13. When Texas officers

tried to document this ongoing destruction, CBP agents told them to “back the f***
off,” App. H. 26 n.55, and claimed they are “not authorized to take any pictures,”

App. E. (Cooney Decl.) ¶14.

    On October 26, 2023, two days after Texas filed this suit, photos show

Defendants escalating matters by “trading bolt cutters for an industrial-strength

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telehandler forklift to dismantle Texas’s border fence.” App. I. 2. TMD Officer

Brian Cooney spotted several hundred migrants on Mexico’s side of the Rio Grande.

App. E. ¶5. After the group crossed the river, Border Patrol used a forklift to pull

Texas’s c-wire out of the ground, suspending it aloft for approximately 20 minutes
while over 300 migrants traversed the gap. Id. ¶¶6-7. Border Patrol had airboats in

the water at the time, none of the migrants appeared to be in distress or in need of

medical attention, and no call was made for a medical team. Id. ¶10. 6 Officer Cooney

took this picture of the scene, id. at 6:




    6
     When medical issues occur, Texas does not dispute that the wire can be cut.
See App. U. 12 n.2.

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    Texas promptly filed an emergency motion for a TRO to stop the Biden

Administration’s lawless conduct. Just 20 minutes later, however, TMD Officer

Ortiz Diaz observed CBP officials use the forklift to repeatedly smash Texas’s c-wire

into the ground to facilitate entry of approximately 60 migrants, most of whom had

not yet left Mexico’s riverbank. App. F. (Diaz Ortiz Decl.) ¶¶6-8. Again, the Officer

never witnessed any of the migrants in distress or in need of medical attention, and
no call for a medical team was made. Id. ¶8.

III. Procedural History
    Texas sued on October 24, 2023, asserting claims for conversion and trespass

and substantive APA violations, as well as ultra vires conduct. App. G. (Complaint).
Texas also sought a preliminary injunction. App. H. While Defendants were using a

forklift to tear Texas’s fence out of the ground, Texas sought a TRO. App. I.; App. J.

The district court issued a TRO on October 30, 2023, concluding that Texas will

likely prevail on its trespass-to-chattel claim; ongoing interference with the State’s

proprietary interest caused irreparable harm; and the equitable balance favored the

State. App. K. at 4-10. The TRO enjoined Defendants from tampering with Texas’s
fencing in the vicinity of Eagle Pass and carved out an exception—which Texas did

not oppose—for “provid[ing] or obtain[ing] emergency medical aid.” Id. at 4, 11;

App. M. 1.

    At a November 7, 2023, hearing, testimony confirmed that Defendants’ fence

cutting was not precipitated by medical exigency. Michael Banks, the Texas Border

Czar, provided an eyewitness account of federal agents waving migrants through

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Texas’s dismantled fencing. Rather than apprehend them, “migrants were led

through this hole and pointed a mile down the road and entrusted that they’re going

to just report there.” App. L. (Nov. 7 Hrg. Tr.) 84. Nor were the migrants

discouraged from making the crossing. Federal agents patrolling the Rio Grande by
boat “literally usher[ed] them” across. Id. at 85. Banks testified that when he

confronted the deputy patrol agent on the scene, the patrol agent was unable to

explain his actions. But the agent promised more destruction nonetheless, telling
Banks: “If you close the wire, I will f’ing cut it all; I will tie a strap to it and will rip it

all out of here.” Id.; see also App. P. 9 (district court findings).

    The TRO was extended, initially by order and then by party agreement, until
November 29, 2023. App. N. The district court also ordered supplemental briefing

and the production of certain documents before a second hearing. App. M.

    On November 29, the district court made extensive findings supporting Texas.
As relevant here, the district court concluded that: Texas has “direct proprietary

interests” in its property, App. P. 12; Defendants’ conceded “destruction of . . .

property” that is not theirs cannot be justified based on “statutory duties they are so
obviously derelict in enforcing” given their “utter failure . . . to deter, prevent, and

halt unlawful entry into the United States,” id. at 28; injunctive relief is “the only

appropriate remedy” for Defendants’ “continuing or future” interference with that
property interest, id. at 13 n.7; Texas will suffer irreparable harm absent a preliminary

injunction given Defendants’ “culpable and duplicitous conduct” throughout this

litigation, id. at 6, 34; and the public interest continues to favor an injunction because

Defendants’ policy “provide[s] ample incentive” for drug smuggling and dangerous

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crossings, id. at 27-28, 34. The district court also documented the Defendants’

“cynical arguments,” and identified the Defendants’ “disingenuous[ness]” in

“argu[ing] the wire hinders Border Patrol from performing its job, while also

asserting the wire helps.” Id. at 10; see also id. at 9 n.4 (detailing federal official’s
“totally uncorroborated” assertions and “evasive answers and demeanor”).

    Despite those findings and conclusions of law, the district court determined it

was powerless to convert the court’s TRO into a preliminary injunction on Texas’s
common law claims. According to the district court, Congress’s waiver of sovereign

immunity in 5 U.S.C. § 702 does not apply here. Id. at 13. In reaching that

conclusion, the district court acknowledged that its analysis may conflict with that of
multiple circuit courts but concluded that those “decisions are not binding on this

Court.” Id. at 18 n.9. Regarding the APA claims, the district court concluded that

Texas had not yet shown the existence of a policy, relying partly on documents
reviewed in camera that are presently unavailable to Texas. Id. at 4-6, 30-33.

                    Statement of Jurisdiction
    The Court has jurisdiction to review a denial of a preliminary injunction under

28 U.S.C. § 1292(a)(1).

                                   Argument
    Texas, like the federal government, may hold “the rights of an ordinary

proprietor.” Fort Leavenworth Ry. Co. v. Lowe, 114 U.S. 525, 527 (1885). Just as a
private landowner could sue if federal officials deliberately tore down his fence every

day, so can Texas. Texas sued to vindicate its property interests and to require the

federal government to stay within the bounds Congress has set.

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    Defendants, however, take the remarkable position that they may destroy the

property of others “without restraint.” App. L. 207; cf. id. at 201, 216-17. The

district court rightly rejected that view—partly because Defendants are not carrying

out their statutory duties to deter unlawful entries into this Country, secure the
border, and apprehend unlawful migrants. Congress assigned Defendants the “duty

to control and guard the boundaries and borders of the United States against the

illegal entry of aliens.” 8 U.S.C. § 1103(a)(5). As the district court documented
following multiple hearings, Defendants have subverted that mandate by inviting

agents to destroy Texas’s fencing. Defendants’ ongoing trespass to property that is

not theirs is not justified by medical exigency or any other common law privilege.
    Federal Rule of Appellate Procedure 8(a) permits an injunction pending appeal

upon the movant showing: (1) a strong likelihood of success on the merits; (2)

irreparable injury without an injunction; (3) that the balance of hardships supports
an injunction; and (4) that the public interest favors such relief. Whole Woman’s

Health v. Jackson, 13 F.4th 434, 441 (5th Cir. 2021). In proceedings below, the district

court consistently found that Texas made the second, third, and fourth showings in
support of injunctive relief. The district court has also found Texas’s trespass claim

meritorious. But it nevertheless denied a preliminary injunction because it

mistakenly concluded that sovereign immunity tied its hands. In so doing, the district
court parted ways with multiple circuits that read federal law by its terms to waive

immunity for non-monetary suits like this one. As for the APA claims, the district

court concluded that Texas had not established the existence of a policy or final

agency action. But Texas has pointed to more than enough at this preliminary

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injunction stage, and such showing is irrelevant to the State’s ultra vires claim. This

Court should grant an injunction pending appeal.

I. Texas Will Likely Succeed on the Merits.

    A. Congress has waived federal sovereign immunity for Texas’s
       conversion and trespass claims.
    In its TRO, the district court already found—applying the same four factors

applicable to a preliminary injunction—that Texas was entitled to preliminary relief
on its common law claim for trespass to chattels. The district court stood by all of

those conclusions in its recent preliminary injunction order. And Defendants have

never argued that their pattern of destroying others’ property anytime they deem it

convenient to do so is somehow lawful under common law tort principles. The only

reason the district court did not convert its TRO into a preliminary injunction was

because it mistakenly believed that a broad statutory waiver of sovereign immunity
must not be read to cover this case. That was legal error.

    1. Texas common law furnishes a cause of action for conversion for “the

unlawful and wrongful exercise of dominion, ownership, or control by one person
over the property of another, to the exclusion of the same rights by the owner.” Pan

Am. Petroleum Corp. v. Long, 340 F.2d 211, 219-220 (5th Cir. 1964). It also furnishes

a cause of action for trespass to chattels for wrongfully exercising dominion over the

private property of another in a way that causes “actual damage” or “deprives the

owner of its use for a substantial period of time.” Zapata v. Ford Motor Credit Co.,

615 S.W.2d 198, 201 (Tex. 1981). Under either tort, the subjective intent or ill will of

the tortfeasor is irrelevant. Pan Am., 340 F.2d at 220 & n.24. “The important thing


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is that a property right was violated.” Mountain States Tel. & Tel. Co. v. Vowell Constr.

Co., 341 S.W.2d 148, 150 (Tex. 1960).

    Texas holds a proprietary interest in its c-wire fence. See, e.g., State v. Cemex

Constr. Materials S., LLC, 350 S.W.3d 396, 398, 409 (Tex. App.—El Paso 2011,
judgm’t vacated w.r.m.) (conversion claim for construction materials). Yet

Defendants “deliberately and intentionally used [wire cutters] in making a cut to the

[fence].” Mountain States Tel., 341 S.W.2d at 150. “The [fence] was lawfully in
place” on state, municipal, or private land, id., as Defendants stipulated for

preliminary-injunction purposes, App. S. 14 n.3. So, “[t]he molesting or severing of

the [fence] was a violation of a property right which gave rise to a cause of action
regardless of negligence.” Mountain States, 341 S.W.2d at 150. By cutting Texas’s

c-wire fence, Defendants have destroyed its utility as a barrier and deprived Texas

of its use for a substantial time. Never in this litigation have Defendants contested
any of that—even after the district court found Texas was likely to prevail. See App.

S. 20-23; App. T. 10.

    2. The district court already explained why Texas will likely win its common-
law claims in its detailed TRO opinion. App. P. 13. But due to a mistaken

understanding of sovereign immunity, the district court did not convert Texas’s

TRO into a preliminary injunction. In particular, the district court concluded that
“the 1976 amendment to the [APA]” does not waive sovereign immunity here. Id.

at 15.

    The waiver at issue here provides:



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             An action in a court of the United States seeking relief
             other than money damages and stating a claim that an
             agency or an officer or employee thereof acted or failed to
             act in an official capacity or under color of legal authority
             shall not be dismissed nor relief therein be denied on the
             ground that it is against the United States.

5 U.S.C. § 702. This text is clear—“[a]n action in” federal court “seeking relief

other than money damages” means any action, whether under the APA, a different

statute, or the common law.

    The “leading treatise” on similar justiciability questions, E.T. v. Paxton, 41
F.4th 709, 717 (5th Cir. 2022), agrees: “Though codified in the APA, the waiver [in

§ 702] applies to any suit, whether or not brought under the APA.” Richard

Fallon et al., Hart & Wechsler’s The Federal Courts and the
Federal System 902 (7th ed. 2015) (emphasis added).

    Circuit courts across the country likewise agree that § 702’s waiver is broad and

must be read under its plain terms. See, e.g., Apter v. HHS, 80 F.4th 579, 589-91 (5th
Cir. 2023) (rejecting effort to narrow § 702); Blagojevich v. Gates, 519 F.3d 370, 371-

72 (7th Cir. 2008) (“Congress has waived sovereign immunity for most forms of

prospective relief” because “§ 702 is a law of general application”); Puerto Rico v.

United States, 490 F.3d 50, 57-58 (1st Cir. 2007) (“This waiver is for all equitable

actions for specific relief against a Federal agency or officer acting in an official

capacity” (quotation omitted)); Trudeau v. FTC, 456 F.3d 178, 186 (D.C. Cir. 2006)
(“There is nothing in the language of the second sentence of § 702 that restricts its

waiver to [certain] suits.”); see also Muniz-Muniz v. U.S. Border Patrol, 741 F.3d 668,

672 (6th Cir. 2013); Treasurer of N.J. v. U.S. Dep’t of Treasury, 684 F.3d 382, 400


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(3d Cir. 2012); Presbyterian Church (U.S.A.) v. United States, 870 F.2d 518, 525 (9th

Cir. 1989); Red Lake Band of Chippewa Indians v. Barlow, 846 F.2d 474, 476 (8th Cir.

1988); B.K. Instrument, Inc. v. United States, 715 F.2d 713, 724-25 (2d Cir. 1983).

    3. The district court nevertheless ruled that § 702 does not mean what it says.
That decision is mistaken and creates a square split of authority.

    First, the district court noted that waivers are “strictly construed.” App. P. 14,

19. From that premise, it reasoned that § 702 could not cover Texas’s claims without
specifically listing “common law claims for conversion or trespass to chattels” by

name. Id. at 19. But that “rule[] of thumb” applies only to ambiguity about whether

a waiver exists. Sebelius v. Cloer, 569 U.S. 369, 380-81 (2013). The district court
never identified ambiguity in § 702; it claimed only that the plain-text reading would

be “over-inclusive” and “broad[].” App. P. 19. Breadth, however, does not equal

ambiguity. See Bostock v. Clayton County, 140 S. Ct. 1731, 1749 (2020). The Supreme
Court readily enforces immunity waivers that employ “broad language.” United

States v. Williams, 514 U.S. 527, 531-36 (1995). And just months ago, the Supreme

Court heard a breach of trust claim against the federal government brought by an
Indian tribe seeking accounting of water rights—a form of non-monetary relief. See

Arizona v. Navajo Nation, 143 S. Ct. 1804, 1812 (2023). Neither the Supreme Court

nor the Ninth Circuit suggested that § 702 barred the suit because the statute lists
no “common law claims for [breach of trust obligations].” See Navajo Nation v. U.S.

Dep’t of Interior, 26 F.4th 794, 804 (9th Cir. 2022) (instead holding that § 702’s

waiver “applied squarely to the Nation’s breach of trust claim” (cleaned up)).



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    Second, the district court concluded § 702 cannot apply to state-law claims.

App. P. 16-17. That limitation appears nowhere in the statutory text, which is why

multiple circuits have already rejected it. In Perry Capital LLC v. Mnuchin, the D.C.

Circuit rebuffed the Treasury Department’s “argument that § 702 does not waive
its immunity from suit for state law claims” because “the APA’s waiver of sovereign

immunity applies to any suit whether under the APA or not.” 864 F.3d 591, 620

(D.C. Cir. 2017). Although Texas cited Perry, the district court never discussed it.
Nor is the D.C. Circuit alone. The Third Circuit applied § 702’s waiver in an

unclaimed-property suit brought by seven States “making claims under state, not

federal law.” Treasurer of N.J., 684 F.3d at 400-01; see also id. at 387-92 (describing
state unclaimed-property acts’ common law origin); cf. Dep’t of Army v. Blue Fox,

Inc., 525 U.S. 255, 256-58, 263 (1999) (Section 702’s waiver barred claims not

because they rested on state law but because plaintiff sought monetary relief). The
district court intimated that state-law claims under § 702 were uncommon. Yet it is

also uncommon for federal officers to brazenly destroy someone else’s property.

Regardless, whether common or not, the key point here is that nothing in § 702’s
broad waiver of sovereign immunity bars such suits.

    Third, the court suggested the Federal Tort Claims Act impliedly precludes

torts-based suits under § 702 because that act provides “a separate, appropriate
remedy”—namely, a claim for “money damages for prior harm to its fence.” App.

P. 19-20. That inverts the district court’s holding elsewhere that “compensation for

past injury cannot adequately redress the prospect of continuing or future harm”

caused by Defendants’ interference with state property. Id. at 13 n.7. Instead, “the

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only appropriate remedy would be injunctive relief.” Id. That correct conclusion that

“only” injunctive relief could suffice in a case such as this underscores why the

FTCA does not implicitly preclude an action under state law “in a court of the

United States seeking relief other than money damages.” 5 U.S.C. § 702.
    Accordingly, at least two circuits have already rejected that the FTCA implicitly

precludes suits like this one simply because it authorizes money damages for torts.

That “reads too much into congressional silence.” Michigan v. U.S. Army Corps of
Eng’rs, 667 F.3d 765, 775 (7th Cir. 2011); see also B.K., 715 F.2d at 727-28. Here,

Texas “is bringing a different claim, seeking different relief, from the kind the

[FTCA] addresses.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.
Patchak, 567 U.S. 209, 222 (2012). That this suit and the FTCA deal with a “similar

subject matter” (i.e., torts) “is not itself sufficient” to “trigger a remedial statute’s

preclusive effect.” Id. at 223. Plus, § 702 was designed to add to and “strengthen
th[e] accountability” already provided by the FTCA. H.R. Rep. 94-1656, at 4 (1976),

reprinted in 1976 U.S.C.C.A.N. 6121, 6124. Section 702 and the FTCA sit side-by-

side.
    Finally, the district court’s view that “Congress did not intend for Section 702’s

waiver to be so over-inclusive” is unavailing. App. P. 19. Section 702’s text speaks

for itself. And in any event, the legislative record shows that the district court was
wrong: “[T]he House and Senate Reports’ repeated declarations that Congress

intended to waive immunity for ‘any’ and ‘all’ actions for equitable relief against an

agency make clear that no [other] limitations were intended.” Trudeau, 456 F.3d at

187 (citations omitted). Those reports posed three limits on § 702’s waiver: “First,

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the amendment only waives sovereign immunity for actions in a federal court;

second, such actions must seek non-monetary relief; and third, it is ‘applicable only

to functions falling within the definition of “agency” in 5 U.S.C. section 701.’”

Treasurer of N.J., 684 F.3d at 400 (citation omitted). “But the House Report does
not state that there is a fourth limitation limiting the waiver of sovereign immunity.”

Id. The district court’s contrary view was mistaken.

    B. Texas has shown a policy and final agency action supporting its
       APA claims.
    The Court should grant Texas’s motion because of the district court’s
misapplication of § 702. Once that error is corrected, the district court’s own

analysis demonstrates that Texas is entitled to injunctive relief. Separately, however,

Texas is also independently entitled to such relief on its other claims.

    “All the officers of the government, from the highest to the lowest, are creatures

of the law and are bound to obey it.” United States v. Lee, 106 U.S. 196, 220 (1882).

Federal law permits judicial enforcement of this principle via the ultra vires doctrine,
under which litigants may seek specific relief against “a federal officer acting in

excess of his authority or under authority not validly conferred.” Larson v. Domestic

& Foreign Com. Corp., 337 U.S. 682, 690-91 (1949). Federal statutes also permit
judicial enforcement of this principle via the APA’s prohibition of agency action that

is “arbitrary [and] capricious,” “not in accordance with law,” or “in excess of

statutory . . . authority.” 5 U.S.C. § 706(2)(A), (C).

    The district court’s findings demonstrate that Defendants’ conduct is unlawful.

Despite claiming they must destroy Texas’s fence to “apprehend” and “detain”


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aliens, the district court found “[n]o reasonable interpretation of these definitions

can square with Border Patrol’s conduct.” App. P. 26-27. “Opening fences does not

restrain freedom of movement.” Id. at 27. The district court thus rightly rejected the

United States’s “cynical” and “disingenuous” contentions. Id. at 10.
    The district court nevertheless concluded that Texas had not “conclusively”

proven the existence of a policy or final agency action. Id. at 29-33. Of course,

conclusive proof is never required at the preliminary-injunction stage, which is “by
its very nature . . . not fixed or final or conclusive.” SEC v. First Fin. Grp. of Tex., 645

F.2d 429, 435 n.8 (5th Cir. 1981) (citation omitted). Yet evidence showing

Defendants’ unabated practice of destruction, coupled with public statements that
mirror their position in this litigation and the fact that agency leadership still has not

ordered this destruction to cease, App. P. 30 n.14, shows that Defendants have

settled on a policy. That policy unquestionably affects property owners’ rights in the
vicinity of the border near Eagle Pass by instructing agents that they are authorized

to destroy property.

    Defendants’ own witness at the preliminary injunction hearing, moreover,
attested to a policy authorizing destruction of Texas’s fence absent medical

exigency. App. L. 137-40, 150. Defendants’ counsel agreed “there’s a policy, at least

in” Eagle Pass. Id. at 217. Defendants suggested that whether to destroy Texas’s
fence depends on whether aliens were exposed to the elements, faced difficulty

traversing the riverbank, or contributed to crowding and congestion. Id. at 35-36, 52,

122. But such “normal” and “typical” conditions would always be met in the

“ordinary course.” Id. at 133-34, 217. Defendant’s witness acknowledged that the

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“situation” “wouldn’t be” different day-to-day. Id. at 134. All of this demonstrates

that there is a policy with respect to Texas’s fences in Eagle Pass. This evidence

suffices for a preliminary injunction. Cf. Dep’t of Commerce v. New York, 139 S. Ct.

2552, 2575 (2019) (courts are “not required to exhibit a naiveté from which ordinary
citizens are free”).

    At a minimum, the existence of a policy or final agency action is irrelevant to

Texas’s ultra vires claim because “virtually every statement an agency may make”
suffices. Apter, 80 F.4th at 590 (citation omitted). That broad definition embraces

Defendants’ “guidance that supervisors in the Del Rio Sector have provided line

agents regarding the wire.” App. O. 17. That guidance is ultra vires. Congress
directed Defendants to control and guard US borders against illegal entry. See 6

U.S.C. §§ 202(5), 211(c)(2), (5), (6), (8), (e)(3). As the district court expressly

found, Defendants’ conduct “directly contravene[s] those same statutory
obligations.” App. P. 28.

II. The Remaining Factors Favor an Injunction Pending Appeal.
    The remaining injunctive factors justify relief. As the district court recognized,

Defendants are openly flouting their statutory duties at the border, enticing migrants
to “undertake the dangerous task of crossing the river” and causing “irreparable

harm” to Texas. App. P. 9, 34. These harms include the “repeated or continuing”

invasions of Texas’s property rights. Beathard Joint Venture v. W. Houston Airport

Corp., 72 S.W.3d 426, 432 (Tex. App.—Texarkana 2002, no pet.). And for the

reasons that the district court cataloged, the balance of equities and public interest



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also favor relief because of the significant—and, indeed, all but conceded—value of

c-wire in safeguarding the public interest. App. P. 8, 27-28.

III.     The Court Should Enter a Temporary Administrative Injunction.
       For these reasons, Texas requests an administrative injunction while the Court

considers this motion. Such routine administrative relief prevents irreparable harm
while the Court reviews the party’s motion. See, e.g., Richardson v. Tex. Sec’y of State,

978 F.3d 220, 227-28 (5th Cir. 2020).

                                  Conclusion
       The Court should grant an injunction pending appeal and, or alternatively,

immediately grant a temporary administrative injunction.

                                                Respectfully submitted.


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   Certificate of Compliance with Rule 27.3

I certify the following in compliance with Fifth Circuit Rule 27.3:

   • Before filing this Motion, counsel for Appellant contacted the Clerk’s
     Office and opposing counsel to advise them of the intent to file this
     Motion. Counsel also phoned the offices of opposing counsel before filing.

   • The facts stated herein supporting emergency consideration of this
     motion are true and complete.

   • Because Appellant requests an injunction pending appeal as soon as
     practicable and, or alternatively, an immediate temporary administrative
     injunction, the Court’s review of this motion is requested by December 4,
     2023.

   • True and correct copies of relevant orders and other documents are
     attached as exhibits to this motion.

   • This motion is being served at the same time it is being filed.

   • The names of counsel representing the parties, including contact
     information of all counsel, are as follows:

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              Counsel for Defendants-Appellees

                                      /s/ Aaron L. Nielson
                                      Aaron L. Nielson

                   Certificate of Conference
    On December 3, 2023, counsel for Appellant conferred with counsel for
Appellees, who stated that Appellees oppose the relief requested in this motion and

will file a response in opposition to the motion. The filing of this motion was also

preceded by telephone calls to the clerk’s office and to the offices of opposing

counsel on December 4, 2023, advising of the intent to file the emergency motion.

                                      /s/ Aaron L. Nielson
                                      Aaron L. Nielson




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                      Certificate of Service
    On December 4, 2023, this document was served via CM/ECF on all registered

counsel and transmitted to the Clerk of the Court. Counsel further certifies that:

(1) any required privacy redactions have been made in compliance with Fifth Circuit

Rule 25.2.13; (2) the electronic submission is an exact copy of the paper document
in compliance with Fifth Circuit Rule 25.2.1; and (3) the document has been scanned

with the most recent version of Symantec Endpoint Protection and is free of viruses.


                                      /s/ Aaron L. Nielson
                                      Aaron L. Nielson

                   Certificate of Compliance
    This motion complies with: (1) the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 5,195 words, excluding the

parts of the motion exempted by rule; and (2) the typeface requirements of Rule

32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been

prepared in a proportionally spaced typeface (14-point Equity) using Microsoft

Word (the same program used to calculate the word count).


                                      /s/ Aaron L. Nielson
                                      Aaron L. Nielson




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